                      Case 3:12-cr-00238-JBA Document 610 Filed 02/19/20 Page 1 of 2
                                                                                                    Crim-Mot hrg (Dec-2008)
                                                    HONORABLE: Janet Bond Arterton
                           DEPUTY CLERK Donna Barry               RPTR/ECRO/TAPE Melissa Cianciullo
TOTAL TIME: 1               hours 50  minutes  USPO   NA                INTERPRETER NA
                              DATE: 02/19/2020    START TIME: 9:37 a.m.       END TIME: 11:27 a.m.
                                                LUNCH RECESS FROM:                   TO:
                                       RECESS (if more than ½ hr)   FROM:            TO:

CRIMINAL NO. 3:12-cr-00238-JBA                  Deft # 3



                    UNITED STATES OF AMERICA                    D. Novick, D. Khan, L. Laryea
                                                                                    AUSA
                                vs
                                                                C. Morvillo, D. SIlver, B. Peacock, B. Spears
                           Lawrence Hoskins                     Defendant’s Counsel        CJA      Retained        PDA



                                      HEARING ON CRIMINAL MOTIONS

  ......#           Deft                     Motion                                 granted denied advisement
  ......# 589       Deft Lawrence Hoskins' Motion for Aquittal                      granted denied advisement
  ......#           Deft                     Motion                                 granted denied advisement
  ......#           Deft                     Motion                                 granted denied advisement
  ......#           Deft                     Motion                                 granted denied advisement
  ......#           Deft                     Motion                                 granted denied advisement
  ......#           Deft                     Motion                                 granted denied advisement
  ......#           Deft                     Motion                                 granted denied advisement
  ......#           Deft                     Motion                                 granted denied advisement
  ......#           Govt’s motion                                                   granted denied advisement
  ......#           Govt’s motion                                                   granted denied advisement
  ......#           Govt’s motion                                                   granted denied advisement
   ......#          Govt’s motion                                                   granted    denied advisement
  .......#          Deft               oral motion                                  granted denied advisement
  .......#          Deft               oral motion                                  granted denied advisement
  ......#           Deft               oral motion                                  granted denied advisement
  ......#           Govt’s oral motion                                              granted    denied advisement
  ......#           Govt’s oral motion                                              granted denied advisement
  ...............   Brief(s) due                Response(s) due                  Replies due
  ...............   Bond      set at $               reduced to $                  Non-surety Surety PR
  ...............   Bond      revoked    reinstated   continued modified
  ...............   Defendant REMANDED to custody
  ...............   Competency Hearing held          continued until              at
  ...............                                  hearing continued until               at
  ...............   Court finds defendant                             competent    incompetent
  ...............   Court orders defendant                         to undergo psychiatric evaluation
  ...............   Motion Hearing continued until                             at
  ...............   SEE PAGE II for additional entries
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                             DOCUMENTS FILED IN OPEN COURT

..............                                                            filed   docketed
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                                            NOTES OR

                               MISCELLANEOUS PROCEEDINGS
